                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                            DOCKET NO. 3:03-CR-220-3-FDW


 UNITED STATES OF AMERICA,                      )
                                                )
        vs.                                     )
                                                )
 TIMOTHY EUGENE MOORE,                          )                  ORDER
                                                )
               Defendant.                       )
                                                )

       THIS MATTER is before the Court on Defendant’s motion (Doc.#293) for “Reduction of

Sentence based on Amendment 706 and the new cocaine base sentencing guidelines. Defendant’s

motion is DENIED for the reasons stated in the prior Court’s Order (Doc. # 318). Your previous

Offense Level was 29 and the Amended Offense Level is 27. The previously imposed sentence of

imprisonment (as reflected in the last Judgment issued) of 165 months is reduced to 141 months.

       IT IS SO ORDERED:                       Signed: February 7, 2011




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